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  21                      SOUTHERN DISTRICT OF CALIFORNIA
  22   AL OTRO LADO, INC., et al.,                  Case No.: 3:23-cv-01367-AGS-BLM
  23                      Plaintiffs,               Hon. Andrew G. Schopler
  24                 v.                             EXHIBIT 1 TO
                                                    PLAINTIFFS’ REPLY IN
  25   ALEJANDRO N. MAYORKAS, et al.,               FURTHER SUPPORT OF
                                                    MOTION FOR PRELIMINARY
  26                      Defendants.               INJUNCTION:
                                                    DECLARATION OF AARON
  27                                                REICHLIN-MELNICK
  28

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              DECLARATION OF AARON REICHLIN-MELNICK

        I, Aaron Reichlin-Melnick, pursuant to 28 U.S.C. § 1746, hereby declare as
  follows:

        1.     I make this declaration based on my personal knowledge, except where
  I have indicated otherwise. If called as a witness, I could and would testify
  competently and truthfully to these matters.
        2.     I am the Policy Director at the American Immigration Council, where
  I direct the Council’s administrative and legislative advocacy efforts to provide
  lawmakers, policymakers, advocates, and the general public with accurate and
  timely information about the role of immigrants in the United States. I have been in
  this position since June 2022, supervising the work of four full-time staff members.
  In my role, I regularly analyze Customs and Border Protection (CBP) data to explain
  trends to lawmakers and the general public. I have testified about my analysis and
  interpretation of immigration data and trends in front of the House Homeland
  Security Committee three times (in 2021, 2022, and 2023), and in front of the House
  Judiciary Committee one time (in 2023).
        3.     From June 2018 to June 2022, I served as the Senior Policy Counsel at
  the American Immigration Council, where I worked primarily on border and
  immigration court issues and the intersection of immigration law and policy. I
  previously worked as a Staff Attorney at the Council from September 2016 to June
  2018, working on impact litigation, Freedom of Information Act litigations, and
  practice advisories.
        4.     Prior to joining the Council, I was an Immigrant Justice Corps Fellow
  placed as a Staff Attorney at the Immigration Law Unit of The Legal Aid Society in
  New York City, representing immigrants placed in removal proceedings because of
  a prior criminal conviction.


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           5.   I hold a J.D. from the Georgetown University Law Center and a B.A.
  in Politics and East Asian Studies from Brandeis University.
           6.   The Council’s Research Team and I analyzed Customs and Border
  Protection data on southwest border encounters during the months of May, June,
  July, and August 2023 using CBP’s “Southwest Land Border Encounters” 1 data set,
  which includes land border encounters from FY2019 to the present. A “land border
  encounter” is any incident in which a Customs and Border Protection official, either
  a U.S. Border Patrol agent or an Office of Field Operations (OFO) officer,
  encounters an individual who is either inadmissible or deportable. We used this data,
  along with other data publicly reported by CBP, to determine the number of land
  border encounters that occurred at ports of entry along the southwest border without
  the use of a CBP One appointment. The steps described below were undertaken by
  the Council’s Research Team and reviewed by me.
           7.   We started by reviewing the numbers from the most recent CBP
  “Southwest Land Border Encounters” dataset updated through August 2023, which
  provides data on U.S. Border Patrol apprehensions and OFO encounters with
  noncitizens at the southwest border.
           8.   OFO’s area of responsibility includes processing of undocumented
  noncitizens encountered at the ports of entry. Border Patrol’s area of responsibility
  includes processing of undocumented noncitizens encountered between ports of
  entry.
           9.   We noticed that the numbers reported in the dataset for June and July
  2023 were slightly different from the ones reported in CBP’s monthly press releases


  1
    Southwest Land Border Encounters, U.S. Customs and Border Protection (Sept.
  22, 2023), https://www.cbp.gov/document/stats/southwest-land-border-encounters
  (last visited Sept. 29, 2023).



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  regarding the number of individuals encountered at land ports of entry for those
  months. 2 I understand that when CBP updates the numbers in the dataset each month,
  the agency often conducts a process of data validation and corrects prior months’
  data to account for identified data discrepancies, which likely explains these slight
  differences.
        10.      To determine the approximate number of undocumented noncitizens
  processed at ports of entry without a CBP One appointment from May through
  August 2023, we began by using the Southwest Land Border Encounters data set to
  determine the number of people encountered by OFO for May (35,313), June
  (45,027), July (50,846), and August (51,913).
        11.      For each month, we then subtracted the number who were “UC
  [Unaccompanied Child] / Single Minors” (485 in May, 545 in June, 600 in July, and
  710 in August) to remove unaccompanied immigrant children from the data set, as
  they are not eligible for CBP One processing, and thus not relevant to this analysis.
        12.      We then subtracted the number of people whom CBP listed in their
  monthly press releases as having presented at a southern border port of entry with a




  2
     CBP releases May 2023 Monthly Update, U.S. Customs and Border Protection
  (June 20, 2023), https://www.cbp.gov/newsroom/national-media-release/cbp-
  releases-may-2023-monthly-operational-update (last visited Sept. 28, 2023); CBP
  releases June 2023 Monthly Update, U.S. Customs and Border Protection (July 18,
  2023), https://www.cbp.gov/newsroom/national-media-release/cbp-releases-june-
  2023-monthly-update (last visited Sept. 29, 2023); CBP releases July 2023 Monthly
  Update, U.S. Customs and Border Protection (Aug. 18, 2023),
  https://www.cbp.gov/newsroom/national-media-release/cbp-releases-july-2023-
  monthly-update (last visited Sept. 29, 2023); CBP releases August 2023 Monthly
  Update, U.S. Customs and Border Protection (Sept. 22, 2023),
  https://www.cbp.gov/newsroom/national-media-release/cbp-releases-august-2023-
  monthly-update (last visited Sept. 29, 2023).



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  CBP One appointment. 3 This was identified by CBP as exactly 28,696 in May,
  “more than 38,000” in June, “more than 44,700” in July, and “more than 45,400” in
  August.
            13.    The result was that, according to public CBP data, OFO officers
  encountered at most 6,132 individuals without a CBP One appointment at ports of
  entry in May, at most 6,482 individuals without a CBP One appointment at ports of
  entry in June, at most 5,546 individuals without a CBP One appointment at ports of
  entry in July, and at most 5,803 individuals without a CBP One appointment at ports
  of entry in August.
            14.    The calculations described in paragraphs 10-13 are represented in the
  chart below:
             Month         OFO             U/C Single CBP         One Encounters
                           Encounters      Minors       Appointments without CBP
                                                                         One
                                                                         Appointment

             May 2023      35,313          485          28,696           6,132

             June 2023     45,027          545          >38,000          <6,482

             July 2023     50,846          600          >44,700          <5,546

             Aug 2023      51,913          710          >45,400          <5,803

             TOTAL                                                       <23,963



            15.    As indicated in the above chart, when the numbers for OFO encounters


  3
      See footnote 2.



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  from May through August 2023 for individuals without CBP One appointments are
  added together, the total is approximately 24,000 individuals.
        16.   Importantly, not every one of these individuals were asylum seekers, as
  this figure includes several thousand individuals each month arriving at a southern
  border port of entry with travel documents who seek admission but are deemed
  inadmissible for one reason or another. For example, even in October 2020, despite
  the fact that the border was entirely closed to asylum seekers and lawful trade and
  travel was still heavily restricted due to the COVID-19 pandemic, OFO reported
  nearly 3,000 encounters at southwest border ports of entry, of which nearly 2,650
  were Mexican nationals who were likely seeking lawful entry (not asylum) and were
  deemed inadmissible for one reason or another.
        17.   As a result, while the publicly available CBP data suggests that
  approximately 24,000 people were encountered at southern border ports of entry
  from May to August 2023 without prescheduling an appointment through the CBP
  One app, when accounting for encounters with individuals seeking lawful entry who
  are deemed inadmissible, the actual number of those encounters involving asylum-
  seeking undocumented noncitizens is likely considerably lower than 24,000.
        18.   I understand that the government estimated in the above-captioned case
  that from May 12, 2023 to August 23, 2023, OFO processed approximately 47,000
  noncitizens who “did not pre-schedule their arrival” or did not have CBP One
  appointments. As the analysis above indicates, the publicly available CBP data
  discussed does not support this number, which is at least 23,000 encounters higher
  than the public data suggests for the lengthier period from May 1 through August
  31, 2023.




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  I declare under penalty of perjury that the foregoing is true and correct. Executed on
  this 29th day of September, 2023, at Washington, DC.




     _/s/ Aaron Reichlin-Melnick                      __9/29/2023_________

     Aaron Reichlin-Melnick                                  Date




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